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                            UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF PENNSYLVANIA


Patricia Holmes,                                    )
                                                    )
             Plaintiff,                             )
                                                    )
vs.                                                 )
                                                    )
Sutherland Global Logistics, LLC, doing             )
business as Seko Logistics Med Tec,                 )   JURY TRIAL DEMANDED
           Defendant,                               )


                                           COMPLAINT

       AND NOW, COMES Plaintiff Patricia Holmes ("Plaintiff") by and through her attorneys,

Thomas B. Anderson, Esquire and Thomson, Rhodes & Cowie, P.C. and files this Complaint

against Sutherland Global Logistics, LLC, d/b/a/ Seko Logistics     Med Tec ("Defendant") in

support thereof avers as follows:

                                         JURISDICTION

       1.        This Court has jurisdiction over this action pursuant to the Title VII of the Civil

Rights Act of 1964, as amended by the Civil Rights Act of 1991 42 U.S.C. § 2000e-5, and The

Civil Rights Act of 1866 42 U.S.C. § 1981. This Court has pendant jurisdiction over the

Plaintiffs' Pennsylvania Human Relations Act (PHRA) claims, 43 Pa. C. S. §951 et seq.

       2.        This Court can exercise personal jurisdiction over Defendant because, among

other things, Defendant continuously and systematically conducts business in the

Commonwealth of Pennsylvania. Defendant employed Plaintiff in the Middle District of

Pennsylvania and Defendant terminated Plaintiff          employment in the Middle District of

Pennsylvania.
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                                              VENUE

       3.       Venue is proper in this judicial district because the unlawful employment practice

and racial discrimination and retaliation claim alleged in the Complaint was committed within

the Middle District of Pennsylvania; Defendant regularly conducts business in the Middle

District of Pennsylvania; Plaintiff would be employed in the Middle District of Pennsylvania, but

for the unlawful employment practices and Defendant employs numerous individuals in the

Middle District of Pennsylvania. Accordingly, venue lies in the United States District Court for

the Middle District of Pennsylvania.

                                             PARTIES

       4.       Patricia Holmes is an African American woman who resides at 120 Avon Court,

#35, East Stroudsburg, Pennsylvania.

       5.       Sutherland Global Logistics, LLC, is a Pennsylvania Limited Liability Company

doing business as Seko Logistics     Med Tec at 100 Walker Drive, State College, Pennsylvania.

Defendant employs more than 15 employees.

       6.       At all relevant times hereto, Defendant was Plaintiff's employer and was an

employer within the meaning of Title VII of the Civil Rights Act and the PHRA.

                              ADMINISTRATIVE PROCEEDINGS

       7.       Plaintiff has satisfied all the procedural and administrative requirements set forth

in Section 706 of Title VII of the Civil Rights Act of 1964, 42 U.S.C. Section 2000e-5 and

specifically:

             a. Plaintiff timely filed written charges alleging racial discrimination and retaliation

                with the Pennsylvania Human Relations Commission (PHRC) and the United

                States Equal Employment Opportunity Commission (EEOC) on August 29, 2019;




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             b. Plaintiff received a Notice of Right to Sue Letter from the EEOC on August 12,

                2020.

             c. Plaintiff filed this Complaint within ninety (90) days of receipt of the Notice of

                Right to Sue Letters from the EEOC and more than one year after the complaint

                was filed with the PHRC.

                                      FACTUAL BACKGROUND

       8.       In May of 2019, Plaintiff began working as a contract employee for Defendant as

a recruiter. Plaintiff performed her job for Defendant so well that on August 14, 2019,

Defendant made a written employment offer to Plaintiff for the position of Recruiter/HR

Assistant. Plaintiff was to begin her employment under the terms of the written offer on

Monday, August 19, 2019.

       9.       Plaintiff was placed with the Defendant through a company called HR4ALL.

       10.      During the time that Plaintiff worked for Defendant, Plaintiff experienced

unprofessional, harassing and hostile behavior by Defendant Office Manager, Karin Graham.

One incident involved Ms. Graham screaming at Plaintiff because Plaintiff had made a verbal

offer of employment, despite the fact that Plaintiff had done exactly what she was instructed to

do by Defendant President.

       11.      Plaintiff was also told by Defendant HR Director that Defendant office in

Baltimore paid white employees more than African-American employees and that the company

was going to rectify the problem but di     have anything in place yet.

       12.      After Plaintiff was given a written employment offer by Defendant President,

Ms. Graham behavior toward Plaintiff was hostile, rude, short, and condescending.




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       13.     On Thursday, August 15, 2019, Plaintiff asked her supervisor at HR4ALL, Mark

Morgenfruh, for guidance on how to best deal with behavior of Ms. Graham. Mr. Morgenfruh

advised her to speak with Defendant HR Director.

       14.     On Friday August 16, 2019, Plaintiff asked to speak with the HR Director. The

HR Director received a text message from Mr. Morgenfruh prior to a meeting that was scheduled

at 3:30 p.m. When Plaintiff met with the HR Director at 3:30 p.m., the HR Director, who had

witnessed the incident involving Ms. Graham yelling at Plaintiff, demanded that Plaintiff provide

the names of other employees who had witnessed the yelling. Plaintiff declined to provide the

names of the other employees who witnessed the harassment by Ms. Graham. When the word

               was used, the HR Director said          is it harassment now Patricia. Plaintiff was

advised that the offer of employment was rescinded because she did not tell the truth.

Immediately thereafter, Plaintiff was asked to pack her personal belongings and she left the

premises.

              RACIAL DISCRIMINATION AND HARASSMENT- TITLE VII

                                              Count I

       15.     Plaintiff incorporates by reference the averments of Paragraphs 1-14 of the

Complaint as if the same were set forth in full.

       16.     Plaintiff is African American.

       17.     Plaintiff was qualified to perform the job that was offered to her and subsequently

revoked.

       18.     Plaintiff was treated differently than other employees by Ms. Graham and the

offer of employment was rescinded due to racial animus and retaliation.




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        19.     The above described unlawful employment practices by Defendant, its agents,

servants and employees violate Title VII.

        20.     Defendant's actions were performed with malice and/or reckless indifference to

the Plaintiff's federally protected rights.

        21.     As a direct and proximate result of the above-mentioned employment practices,

Plaintiff was deprived of her job and has lost income in the form of back and front pay, fringe

benefits, retirement contributions, medical insurance, lost future job opportunities, future

substantial pecuniary losses, non-pecuniary losses and she has suffered embarrassment,

humiliation, emotional distress, pain, suffering, inconvenience and mental anguish for which she

seeks damages.

        WHEREFORE, Patricia Holmes demands judgment against Defendant and damages in

an amount that this Court and a jury deem fair and reasonable including, but not limited to, front

pay, back pay from the date of the wrongful acts, equitable relief, compensatory damages,

punitive damages, prejudgment interest, post-judgment interest and reasonable attorney's fees

including litigation expenses and the costs in this action.

                   DISCRIMINATION/RETALIATION - 42 U.S.C. § 1981.

                                               Count II

        22.     Plaintiff incorporates by reference the averments of Paragraphs 1-21 of the

Complaint as if the same were set forth in full.

        23.     The above-described unlawful employment practices by Defendant, its agents,

servants and employees violate 42 U.S.C. § 1981.

        24.     The Defendant's actions were also performed with malice and/or reckless

indifference to the Plaintiff's federally protected rights.




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       25.     As a direct and proximate result of the above-mentioned employment practices,

Plaintiff was deprived of her job and has lost income in the form of back and front pay, fringe

benefits, retirement contributions, medical insurance, lost future job opportunities, future

substantial pecuniary losses, non-pecuniary losses and she has suffered embarrassment,

humiliation, emotional distress, pain, suffering, inconvenience and mental anguish for which she

seeks damages.

       WHEREFORE, Patricia Holmes demands judgment against Defendant and damages in

an amount that this Court and a jury deem fair and reasonable including, but not limited to, front

pay, back pay from the date of the wrongful acts, equitable relief, compensatory damages,

punitive damages, prejudgment interest, post-judgment interest and reasonable attorney's fees

including litigation expenses and the costs in this action.

               PENNSYLVANIA HUMAN RELATIONS ACT VIOLATIONS

                                             Count III

       26.     Plaintiff incorporates herein by reference the averments of Paragraphs 1-25 as if

the same were set forth in full.

       27.     Plaintiff is in protected class under the PHRA due to her race.

       28.     The Defendant is an "employer" as the term is defined in the PHRA. The

Defendant's acts as alleged herein violated the Pennsylvania Human Relations Act.

       29.     Defendant's conduct as set forth above constitutes intentional and willful

violations of the PHRA.

       30.     As a direct and proximate result of the employment practices, Plaintiff has been

deprived of her job, lost income in the form of back and front pay, fringe benefits, retirement

contributions, medical insurance, loss future opportunities, future substantial pecuniary losses,




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non-pecuniary losses. Plaintiff has suffered embarrassment, humiliation, emotional distress, pain,

suffering, inconvenience and mental anguish for which the Plaintiff seeks damage under the

PHRA.

        WHEREFORE, Patricia Holmes demands judgment against Defendant and damages in

an amount that this Court and a jury deem fair and reasonable including, but not limited to, front

pay, back pay from the date of the wrongful acts, equitable relief, compensatory damages,

prejudgment interest, post- judgment interest and reasonable attorney's fees including litigation

expenses and the costs in this action.

                                             Respectfully submitted,

                                             THOMSON, RHODES & COWIE, P.C.


Dated October 22, 2020                       /s Thomas B. Anderson_____
                                             Thomas B. Anderson, Esquire
                                             PA I.D. #79990

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